Case 1:04-cv-01271-.]DT-STA Document 6 Filed 05/09/05 Page 1 of 2 Page|D 10

United States District Court
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Eastern Division

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JUDGMENT lN A ClVlL CASE " ` ='

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KENNETH RAY BRASHER, ¢,‘/’ :¢
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HENDERSON COUNTY, ET AL., CASE NUMBER: 1204-1271-T/An

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

|T lS ORDERED AND ADJUDGED that in compliance with the order entered in
the above»sty|ed matter on 5/3/2005, this case is hereby D|SN||SSED and it is furthered
CERT|F|ED that any appeal in this matter is not taken in good faith.

APPROVED:

   

JA ES D. TODD
ED STATES DlSTR|CT JUDGE

ROBERT R. Di TROL|O
CLERK

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DATE

This document entered on the docket sheet in

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with Ru|e 58 and/or 79(a) FRCP on 5 l l © l 05 .

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 1:04-CV-01271 Was distributed by faX, mail, or direct printing on
May ]0, 2005 to the parties listed.

 

 

Kenneth Ray Brasher
410 HWy 70 East
Brownsville, TN 38012

Honorable J ames Todd
US DISTRICT COURT

